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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION

UNITED STATES OF AMERICA                   )       Criminal No. 2:07-578
                                           )
                       v.                  )
                                           )
Albert E. Parish Jr.                       )

               Government's Memorandum in Response to Defendant’s
                     Motion for Summary Judgment (DE 95)

       On November 3, 2017, Petitioner Albert E. Parish Jr. ("Parish") requested that his

sentence be vacated and that he be resentenced. Docket Entry (DE) 95. Parish

challenges his sentence because he believes the sentencing judge should have been

recused from Parish’s case. Parish argues that, since this did not happen, his sentence

should be vacated and a different judge should resentence him. However, because

Parish’s motion challenges the validity of his sentence, it is properly considered a motion

under 28 U.S.C. § 2255. Accordingly, this court should recharacterize Parish’s motion

as one falling under 28 U.S.C. § 2255 and give Parish an opportunity to either proceed

with his original motion as styled, or to accept recharacterization and amend his motion

so that it contains all the § 2255 claims he believes he has.

                                 Procedural Background

       On May 9, 2007, a federal grand jury returned an Indictment charging Parish with

violations of Mail Fraud (Counts One through Six), 18 U.S.C. §1341; Wire Fraud

(Counts Seven through Ten), 18 U.S.C. §1343; and False Statement (Count Eleven), 18

U.S.C. §1001. DE 17. On October 5, 2007, Parish pled guilty to Counts One, Four and


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Eleven. DE 48. Parish was sentenced on June 26, 2008. DE 85. At the sentencing

hearing, testimony was given, and the district court found the guideline range to be 292 to

365 months. DE 65. Parish was then sentenced to 292 months imprisonment and

ordered to pay $66,820,167.08 in restitution. DE 64.

         Parish appealed his conviction and sentence. United States v. Parish, No. 08-

4723, 334 Fed.Appx. 534 (4th Cir. April 22, 2009). In 2009, the Fourth Circuit found that

Parish had no meritorious issues on appeal, and affirmed his conviction and sentence. Id.

at 1. On November 30, 2011, the district court amended its Restitution Order to reflect a

restitution amount of $63,026,569.91. DE 94. Nothing else about Parish’s sentence

changed. Parish filed no further appeals and filed no motions under 28 U.S.C. § 2255.

         In 2016, Parish filed a complaint against the district court in the Fourth Circuit.

DE 95, p. 15. The complaint included much of what is contained in Parish’s current

motion, and the Fourth Circuit dismissed Parish’s complaint. DE 95. Parish then filed

his current motion on November 3, 2017, entitling it a “Motion for Relief Under 28

U.S.C. §§455(a), (b)(4), and Rule of Civil Procedure 60(b)(6).” DE 95.

   I.       Analysis

   Parish fashions his motion as being one under Fed.R.Civ.Pro. 60(b)(6).

Fed.R.Civ.Pro. 60(b)(6) states:

         (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On
         motion and just terms, the court may relieve a party or its legal representative from
         a final judgment, order, or proceeding for the following reasons: . . .

                (6) any other reason that justifies relief.


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       Although Parish categorizes his motion under Rule 60(b), substantively he is

challenging his sentence. This is clear in Parish’s requested remedy. It only addresses

his sentence - he requests that his sentence be vacated and that he be resentenced. DE 95.

Also, his claims of impartiality all relate to his sentencing. In considering the materiality

of the judge’s claimed impartiality, Parish argues this impartiality affected his sentence,

resulting in an “unusually heavy sentence.” Id. at 5. Further, Parish’s argument

regarding the impact of the claimed impartiality addresses only his sentence, with Parish

arguing that any impact would have been avoided if he had been sentenced by a different

judge. Id. at 8. Throughout his motion Parish continually challenges the fairness of his

sentence, and exclusively points to resentencing as his remedy. Accordingly, Parish’s

motion most certainly challenges the validity of his sentence.

       Although Parish labels his motion as being under Rule 60(b), the substance of his

motion dictates how his motion should be characterized. Where a motion challenges the

validity of a judgment and sentence, the remedy lies in 28 U.S.C. § 2255, not Rule 60(b),

regardless of what title a litigant chooses. “The exclusive remedy for testing the validity

of a judgment and sentence, unless it is inadequate or ineffective, is that provided for in

28 U.S.C. § 2255.” Johnson v. Taylor, 347 F.2d 365, 366 (10th Cir.1965) Although

“Federal Rule of Civil Procedure 60(b) has a ‘valid role to play in habeas cases,’ it does

not provide relief from judgment in a criminal case.” United States v. Johnson, 159 F.

App'x 835, 838–39 (10th Cir. 2005), quoting Gonzalez v. Crosby, 125 S.Ct. 2641, 2649;

citing United States v. Mosavi, 138 F.3d 1365, 1366 (11th Cir.1998). Because Parish is



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challenging his sentence, this court should properly characterize his motion as a 28

U.S.C. § 2255 petition 1.

   II.      Procedure to Recharacterize a Motion as a § 2255

   Since Parish’s motion is properly one under 28 U.S.C. § 2255, the court should notify

Parish of the implications of such a recharacterization.

   [T]he court cannot so recharacterize a pro se litigant’s motion as the litigant’s first §
   2255 motion unless the court informs the litigant of its intent to recharacterize, warns
   the litigant that the recharacterization will subject subsequent § 2255 motions to the
   law’s “second or successive” restrictions, and provides the litigant with an
   opportunity to withdraw, or to amend, the filing.

   United States v. Hailey, 2017 WL 6032488 (4th Cir., December 6, 2017), citing Castro

v. United States, 540 U.S. 375, 377 (2003). Hailey also set forth guidance for a district

court when advising a litigant of his options – the district court should provide the litigant

“an opportunity to either proceed with his original motion as styled, or to accept

recharacterization and amend his motion to that it contains all the § 2255 claims he

believes he has.” Id. at 1.

                                           Conclusion

         Because Parish’s motion challenges his sentence, it should be recharacterized as a

motion under 28 U.S.C. § 2255. The government requests that the court advise Parish

that his motion will be recharacterized as such and give him a chance to proceed or to

amend his motion. Should the court disagree with the government’s analysis, the

government requests an opportunity to respond to Parish’s motion as fashioned under


1. Parish’s current motion is docketed as a motion to vacate under 28 U.S.C. § 2255. Text Entry
for DE 95, 97.

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Rule 60(b). If the court proceeds to recharacterize Parish’s motion as one falling under

28 U.S.C. § 2255, the government requests an opportunity to respond to Parish’s motion

once Parish has determined whether he wishes to proceed with the motion as submitted or

to make amendments.



                                         Respectfully submitted,

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